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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                                     )
FEDERAL TRADE COMMISSION,                            )
                                                     )
                              Plaintiff,             )
                                                     )      Case No. 1:20-cv-03590-JEB
                        v.                           )
                                                     )
META PLATFORMS, INC.,                                )      HON. JAMES E. BOASBERG
                                                     )
                              Defendant.             )
                                                     )

                             DECLARATION OF JULIA K. YORK

       Pursuant to 28 U.S.C. § 1746, I, Julia York, declare and state as follows:

  1.      I am an attorney duly licensed to practice law in the District of Columbia, and a

          Partner at the law firm of Skadden, Arps, Slate, Meagher & Flom LLP. I represent

          Non-Party TikTok, Inc. (“TikTok”) in connection with the above-captioned matter.

  2.      I submit this declaration in connection with TikTok’s Motion to Deny Defendant’s

          Designated In-House Counsels’ Access to Highly Confidential Information. If called

          upon to do so, I will testify competently to the facts set forth herein.

  3.      On February 24, 2022, Defendant Meta Platforms, Inc. (“Meta”) served a Rule 45

          subpoena on TikTok in the above-captioned matter (the “Subpoena”), consisting of

          54 requests for production (not including subparts) and seeking documents and data

          concerning all aspects of TikTok’s business, including the confidential information

          produced by TikTok to the Federal Trade Commission (“FTC”) relating to the FTC’s

          pre-Complaint investigation, FTC v. Facebook, Inc., FTC No. 191-0134 (Dec. 9,

          2020). TikTok and Meta are engaged in a meet-and-confer process regarding the

          scope of the Subpoena, the place of compliance for which is the Central District of

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       California. TikTok has raised issues of scope related to the highly sensitive nature of

       the information sought, the lack of relevance on several requests, and the burden to

       TikTok.

4.     On June 16, 2022, Meta filed a motion for letters rogatory to TikTok’s parent

       company ByteDance Ltd. (“ByteDance”) in which it erroneously identified

       ByteDance as a “Chinese internet technology company.” (ECF 147-1.) TikTok and

       Meta met and conferred with on June 27, 2022, regarding Meta’s motion for letters

       rogatory. At the meet-and-confer, TikTok informed Meta that ByteDance is a

       Cayman Islands entity and a holding company. Meta acknowledged its error and

       offered to formally correct the representation with this Court, but has not done so.

       Instead, on August 3, 2022, Meta again referred to ByteDance Ltd. as a “Chinese

       entity” in its filing to compel production from non-party Snap, Inc. See Joint

       Stipulation Regarding Meta Platforms, Inc.’s Motion to Compel Snap Inc. to Produce

       Documents and Snap Inc.’s Cross-Motion to Quash Subpoenas, at 44, lines 21–24,

       Meta Platforms, Inc. v. Snap, Inc., 2:22-mc-00146 (C.D. Cal. Aug. 3, 2022), ECF 1-1.

5.     On July 20, 2022, pursuant to Section E(1) of the Protective Order entered by the

       Court on March 25, 2022 (ECF No. 134), Meta’s outside counsel provided TikTok

       with declarations of Eric Michael Meiring and Christen Dubois, the two In-House

       Counsel Meta designated to access TikTok’s Highly Confidential Information. True

       and correct copies of the declarations provided by Meta’s outside counsel are attached

       hereto as Exhibit A.

6.     On August 1, 2022, consistent with the procedure for objecting to Meta’s

       designations of In-House Counsel as provided for in Section E of the Protective



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       Order, TikTok provided Meta’s outside counsel with a written objection to Meta’s

       designations of Mr. Meiring and Ms. Dubois as In-House Counsel capable of

       accessing TikTok’s Highly Confidential Information. A true and correct copy of

       TikTok’s written objection is attached hereto as Exhibit B.

7.     In its written objection, TikTok requested Mr. Meiring’s and Ms. Dubois’s signed

       copies of “Appendix B,” which Meta’s designated In-House Counsel are required to

       sign under the terms of the Protective Order. True and correct copies of the signed

       “Appendix B” forms provided by Meta’s outside counsel are attached hereto as

       Exhibit C.

8.     On August 8, 2022, counsel for TikTok and Meta met and conferred regarding

       TikTok’s objections to Meta’s designations of Mr. Meiring and Ms. Dubois pursuant

       to Section E(1) of the Protective Order. At that meet-and-confer, TikTok reiterated

       the concerns outlined in its written objection about Mr. Meiring and Ms. Dubois

       having access to its Highly Confidential Information, given their close involvement

       with antitrust matters at Meta, and requested clarification as to whether these In-

       House Counsel “advise on” Competitive Decision-Making (as defined in Section

       A(1)(c) of the Protective Order). Meta’s counsel did not confirm that these In-House

       Counsel do not “advise on” competitive matters, but asserted that the declarations of

       Mr. Meiring and Ms. Dubois complied with the requirements outlined in Section

       D(1)(d) of the Protective Order. At the time of filing, TikTok has not received any

       clarification on the question. Meta’s counsel also refused to entertain a modification

       to the Protective Order that would ameliorate TikTok’s concerns. Meta’s counsel




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        indicated that it would oppose any motion by TikTok pursuant to Section E of the

        Protective Order.

9.      On August 12, 2022, TikTok produced a set of 250 documents to Meta, which

        included 62 documents that TikTok previously produced to the FTC. Fifty-eight of

        these documents contain Highly Confidential Information as defined under the

        Protective Order, and have been designated accordingly. TikTok has instructed Meta

        to limit access to these documents to outside counsel pending the resolution of

        TikTok’s motion challenging Meta’s designated In-House Counsel.

10.     In February 2022, the Washington Post reported that Meta had hired operatives “to

        use TikTok’s prominence as a way to deflect from Meta’s own privacy and antitrust

        concerns.” Taylor Lorenz and Drew Harwell, Facebook Paid GOP Firm to Malign

        TikTok, Wash. Post (Mar. 30, 2022),

        https://www.washingtonpost.com/technology/2022/03/30/facebook-tiktok-targeted-

        victory/; Facebook Resorts to Old Smear Tactics Against TikTok, ABC News (Mar.

        30, 2022), https://abcnews.go.com/Politics/wireStory/facebook-resorts-smear-tactics-

        tiktok-83770231. In April 2022, the Family Online Safety Institute (FOSI) published

        a statement reflecting that its Board of Directors had voted to revoke Facebook’s

        membership because “[q]uestions were raised over the recent reports of a campaign

        of disinformation around online safety issues that stoked unwarranted fears among

        students, teachers, and parents.” FOSI Statement on Revocation of Facebook

        Membership, (Apr. 22, 2022), https://www.fosi.org/about-press/fosi-statement-

        facebook-membership. True and correct copies of these news articles, obtained from

        the Internet on August 13, 2022, are attached as Exhibit D.



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   11.      Also in February 2022, it was reported that Meta CEO Mark Zuckerberg mentioned

            TikTok several times in an earnings call, which followed a significant drop in the

            value of Meta stock. Meta Platforms (FB) Q4 2021 Earnings Call Transcript,

            Motley Fool (Feb. 3, 2022), https://www.fool.com/earnings/call-

            transcripts/2022/02/03/facebook-fb-q4-2021-earnings-call-transcript/; Adam Levy,

            Every Time Mark Zuckerberg Mentioned TikTok on Meta’s Earnings Call, Motley

            Fool (Feb. 25, 2022), https://www.nasdaq.com/articles/every-time-mark-zuckerberg-

            mentioned-tiktok-on-metas-earnings-call; Martin Baccardax, Meta Stock Plunges as

            Apple Privacy Rules, TikTok Competition Hammer Facebook Growth, TheStreet

            (Feb. 3, 2022), https://www.thestreet.com/markets/meta-stock-plunges-as-apple-

            rules-tiktok-hammer-facebook-growth. True and correct copies of these news

            articles, obtained from the Internet on August 14, 2022, are attached hereto as Exhibit

            E.

         I affirm under penalty of perjury under the laws of the United States that the foregoing

statements are true and correct.



Dated August 15, 2022

                                               /s/ Julia K. York      _________
                                               Julia K. York




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